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     1 ROBBINS GELLER RUDMAN
         & DOWD LLP
     2 STEVEN W. PEPICH (116086)
       JASON A. FORGE (181542)
     3 ERIC I. NIEHAUS (239023)
       HILLARY B. STAKEM (286152)
     4 KEVIN S. SCIARANI (301411)
       655 West Broadway, Suite 1900
     5 San Diego, CA 92101-8498
       Telephone: 619/231-1058
     6 619/231-7423 (fax)
       stevep@rgrdlaw.com
     7 jforge@rgrdlaw.com
       ericn@rgrdlaw.com                                       JS-6
     8 hstakem@rgrdlaw.com
       ksciarani@rgrdlaw.com
     9
       Lead Counsel for Lead Plaintiff
    10
                            UNITED STATES DISTRICT COURT
    11
                           CENTRAL DISTRICT OF CALIFORNIA
    12
       MATT KARINSKI, Individually and on ) Case No. 2:19-cv-01828-MWF-SK
    13 Behalf of All Others Similarly Situated, )
                                                ) CLASS ACTION
    14                          Plaintiff,      )
                                                ) FINAL JUDGMENT AND ORDER OF
    15       vs.                                ) DISMISSAL WITH PREJUDICE
                                                )
    16 STAMPS.COM, INC., et al.,                )
                                                )
    17                          Defendants. )
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     1         This matter came before the Court for hearing pursuant to the Order of this
     2 Court, dated October 14, 2021, on the application of the Settling Parties for approval
     3 of the Settlement set forth in the Stipulation of Settlement dated August 16, 2021
     4 (the “Stipulation”). Due and adequate notice having been given to the Class as
     5 required in the Order, the Court having considered all papers filed and proceedings
     6 held herein and otherwise being fully informed in the premises and good cause
     7 appearing therefore, IT IS HEREBY ORDERED, ADJUDGED AND DECREED
     8 that:
     9         1.    This Judgment incorporates by reference the definitions in the
    10 Stipulation, and all terms used herein shall have the same meanings as set forth in
    11 the Stipulation, unless otherwise stated herein.
    12         2.    This Court has jurisdiction over the subject matter of the Litigation and
    13 over all parties to the Litigation, including all Members of the Class.
    14         3.    Pursuant to Rule 23 of the Federal Rules of Civil Procedure, this Court
    15 hereby approves the Settlement set forth in the Stipulation and finds that:
    16               (a)    the Stipulation and the Settlement contained therein are, in all
    17 respects, fair, reasonable and adequate;
    18               (b)    there was no collusion in connection with the Stipulation;
    19               (c)    the Stipulation was the product of informed, arm’s-length
    20 negotiations among competent, able counsel; and
    21               (d)    the record is sufficiently developed and complete to have enabled
    22 Lead Plaintiff and Defendants to have adequately evaluated and considered their
    23 positions.
    24         4.    Accordingly, the Court authorizes and directs implementation and
    25 performance of all the terms and provisions of the Stipulation, as well as the terms
    26 and provisions hereof. Except as to any individual claim of those Persons who have
    27 validly and timely requested exclusion from the Class (identified in Exhibit 1
    28 hereto), the Litigation and all claims contained therein are dismissed with prejudice

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     1 as to Lead Plaintiff and the other Class Members and as against each and all of the
     2 Released Defendant Parties. The Settling Parties are to bear their own costs except
     3 as otherwise provided in the Stipulation.
     4        5.     No Person shall have any claim against Lead Plaintiff, Lead Counsel,
     5 or the Claims Administrator, or any other Person designated by Lead Counsel based
     6 on determinations or distributions made substantially in accordance with the
     7 Stipulation and the Settlement contained therein, the Plan of Allocation, or further
     8 order(s) of the Court.
     9        6.     Upon the Effective Date, Lead Plaintiff and each of the Class Members
    10 shall be deemed to have, and by operation of this Judgment shall have, fully, finally
    11 and forever waived, released, discharged, and dismissed each and every one of the
    12 Released Plaintiff’s Claims (including, without limitation, Unknown Claims)
    13 against each and every one of the Released Defendant Parties with prejudice on the
    14 merits, whether or not Lead Plaintiff or such Class Member executes and delivers
    15 the Proof of Claim and Release and whether or not Lead Plaintiff or each of the Class
    16 Members ever seeks or obtains any distribution from the Settlement Fund. Claims
    17 to enforce the terms of the Stipulation are not released.
    18        7.     Upon the Effective Date, the Defendants and each and every Released
    19 Defendant Party shall be deemed to have, and by operation of this Judgment shall
    20 have, fully, finally and forever waived, released, discharged, and dismissed the
    21 Releasing Plaintiff Parties from all Released Defendants’ Claims (including, without
    22 limitation, Unknown Claims). Claims to enforce the terms of the Stipulation are not
    23 released.
    24        8.     Upon the Effective Date, Lead Plaintiff, all Class Members and anyone
    25 claiming through or on behalf of any of them are forever barred and enjoined from
    26 commencing, instituting, asserting or continuing to prosecute any action or
    27 proceeding in any court of law or equity, arbitration tribunal, administration forum
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     1 or other forum of any kind any of the Released Plaintiff’s Claims (including, without
     2 limitation, Unknown Claims) against any of the Released Defendant Parties.
     3         9.    The distribution of the Notice and publication of the Summary Notice
     4 as provided for in the Preliminary Approval Order constituted the best notice
     5 practicable under the circumstances, including individual notice to Class Members
     6 who could be identified through reasonable effort. The notice provided was the best
     7 notice practicable under the circumstances of those proceedings and of the matters
     8 set forth therein, including the proposed Settlement set forth in the Stipulation, to all
     9 Persons entitled to such notice, and said notice fully satisfied the requirements of
    10 Federal Rule of Civil Procedure 23, due process and any other applicable law,
    11 including the Private Securities Litigation Reform Act of 1995. No Class Member
    12 is relieved from the terms of the Settlement, including the releases provided for
    13 therein, based upon the contention or proof that such Class Member failed to receive
    14 actual or adequate notice. A full opportunity has been offered to the Class Members
    15 to object to the proposed Settlement and to participate in the hearing thereon. The
    16 Court further finds that the notice provisions of the Class Action Fairness Act, 28
    17 U.S.C. Section 1715, were fully discharged and that the statutory waiting period has
    18 elapsed. Thus, it is hereby determined that all Members of the Class are bound by
    19 this Judgment, except those persons listed on Exhibit 1 to this Judgment.
    20         10.   Any Plan of Allocation submitted by Lead Counsel or any order entered
    21 regarding any attorneys’ fee and expense application shall in no way disturb or affect
    22 this Judgment and shall be considered separate from this Judgment. Any order or
    23 proceeding relating to the Plan of Allocation or any order entered regarding any
    24 attorneys’ fee and expense application, or any appeal from any order relating thereto
    25 or reversal or modification thereof, shall not affect or delay the finality of this
    26 Judgment.
    27         11.   Neither the Stipulation, nor any of its terms or provisions, nor any of
    28 the negotiations or proceedings connected with it: (a) is or may be deemed to be or

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     1 may be used as an admission of, or evidence of, the validity of any Released
     2 Plaintiff’s Claims by the Released Defendant Parties, or of any wrongdoing or
     3 liability of the Released Defendant Parties; (b) is or may be deemed to be or may be
     4 used as an admission of, or evidence of, any fault or omission of any of the Released
     5 Defendant Parties in any civil, criminal or administrative proceeding in any court,
     6 administrative agency, or other tribunal or of any liability or wrongdoing of any
     7 kind; (c) is or may be deemed to be evidence of or an admission or concession that
     8 Lead Plaintiff or any Class Members have suffered any damages, harm, or loss. The
     9 Released Defendant Parties may file the Stipulation and/or this Judgment in any
    10 other action that may be brought against them in order to support a defense or
    11 counterclaim based on principles of res judicata, collateral estoppel, release, good
    12 faith settlement, judgment bar or reduction, or any other theory of claim preclusion
    13 or issue preclusion or similar defense or counterclaim.
    14         12.   Without affecting the finality of this Judgment in any way, this Court
    15 hereby retains continuing jurisdiction over: (a) implementation of the Settlement and
    16 any award or distribution of the Settlement Fund, including interest earned thereon;
    17 (b) disposition of the Settlement Fund; (c) hearing and determining applications for
    18 attorneys’ fees and expenses in the Litigation; and (d) all parties hereto for the
    19 purpose of construing, enforcing and administering the Settlement.
    20         13.   The Court finds that during the course of the Litigation, the Settling
    21 Parties and their respective counsel at all times complied with the requirements of
    22 Federal Rule of Civil Procedure 11.
    23         14.   In the event that the Settlement does not become effective in accordance
    24 with the terms of the Stipulation, or the Effective Date does not occur, or in the event
    25 that the Settlement Fund, or any portion thereof, is returned to the Defendants or
    26 their insurers, then this Judgment shall be rendered null and void to the extent
    27 provided by and in accordance with the Stipulation and shall be vacated; and in such
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     1 event, all orders entered and releases delivered in connection herewith shall be null
     2 and void to the extent provided by and in accordance with the Stipulation.
     3          15.   The Settling Parties shall bear their own costs and expenses except as
     4 otherwise provided in the Stipulation or in this Judgment.
     5          16.   Without further order of the Court, the Settling Parties may agree to
     6 reasonable extensions of time to carry out any of the provisions of the Stipulation.
     7          17.   The Court directs immediate entry of this Judgment by the Clerk of the
     8 Court.
     9          18.   The Court’s orders entered during this Litigation relating to the
    10 confidentiality of information shall survive this Settlement.
    11          IT IS SO ORDERED.
    12   DATED: March 17, 2022          ___                         __________
    13                                  THE HONORABLE MICHAEL W. FITZGERALD
                                        UNITED STATES DISTRICT JUDGE
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